
In re Walker, Joan; St. Pierre, Jan Walker; Walker, Marc; Walker, Todd; Walker, Timothy; Walker, Michael; Walker Jr., Rudy; — Plaintiff; Applying for Rehearing of this Court’s action dated January 28, 2009; Parish of Orleans, Civil District Court Div. H, No. 2003-3384; to the Court of Appeal, Fourth Circuit, No. 2009-C-0047.
Insofar as the application seeks review of the order of this Court denying writs under docket number 09-CC-0120, the application is not considered. See Supreme Court Rule IX, Section 6. Insofar as the application seeks rehearing of our order in 09-CC-0128, rehearing is denied.
*155JOHNSON, J., would grant rehearing.
KNOLL, J., would grant rehearing.
